             Case 8:17-bk-05123-CPM            Doc 51    Filed 10/24/17      Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In Re:

Tre Amici Leasing, LLC                                  Case No. 8:17-bk-5123-CPM
                                                        Chapter 11


           Debtor(s)                       /

                                    PLAN OF LIQUIDATION

         The Debtor proposes that its Plan of Liquidation would divide its Creditors into nine (9)

classes and interests. The Debtor is in the process of soliciting potential buyers for the Debtor and

its affiliated companies as an ongoing business. Currently, the Debtor has found a non-related

potential buyer who is willing to pay $10,000.00 cash at closing for the business equipment, name,

telephone numbers and good will, and to assume $78,391.13 of secured indebtedness on Van and

two of the Chrysler 300 vehicles being financed by the Debtor (the “Sale”).

         CLASSIFICATION AND TREATMENT OF CLAIMS

         The Debtor proposes a plan which divides claims and interest into nine (9) classes. The

Debtor proposes to fund its Plan of Reorganization from the revenue generated from the sale of the

Debtors’ vehicles and equipment. The revenue generated from the Sale of the Debtors’s vehicles and

business assets. The proposed classes and their treatment are as follows:

Administrative claims and expenses:             The Debtor shall pay all administrative claims and
                                                expenses upon confirmation of the Debtor’s Plan of
                                                Reorganization, or as otherwise agreed between the
                                                parties involved.

Class I:        (Statutory treatment) Proven and allowed priority claim of the Internal Revenue
                Service in the approximate amount of $1,121.03. The Debtor shall pay this claim plus
                interest at the statutory rate set forth in 26 U.S.C. 6621. In the event that there are
                Sale proceeds remaining after the satisfaction of the Class III secured claim, this
             Case 8:17-bk-05123-CPM           Doc 51      Filed 10/24/17       Page 2 of 5



               creditor shall receive all net proceeds from of the proposed sale (and/or accounts
               receivables and bank accounts to the extent they are available), up to the point of the
               satisfaction of its claim within 30 days of the consummation of the Sale, and
               approval of the Sale by the Bankruptcy Court.

Class II:      (Impaired) Proven and allowed claim of the Monroe Capital Management Advisors,
               LLC in the approximate amount of $121,745.32 secured by a 1st Lien on all furniture,
               fixtures and equipment (with the exception of the vehicles financed by Mercedes-
               Benz Financial Services and Ally Bank). This creditor shall receive all net Sale
               proceeds1 from of the Sale as well the Debtors outstanding receivables and the funds
               in the Debtors’ bank accounts, up to the point of the satisfaction of its claim within
               30 days of the consummation of the Sale, and approval of the Sale by the Bankruptcy
               Court. Until paid, or the entry of an Order Approving Sale Free and Clear of Liens,
               Liens Transferring to Proceeds, this creditor shall retain its lien to the same validity,
               extent and priority that it enjoyed pre-petition.

Class III:     (Impaired) Proven and allowed claim of the Strategic Funding Source, Inc., LLC in
               the approximate amount of $97,194.00 secured by a 2nd Lien on all furniture, fixtures
               and equipment (with the exception of the vehicles financed by Mercedes-Benz
               Financial Services and Ally Bank). In the event that there are Sale proceeds
               remaining after the satisfaction of the Class II secured claim, this creditor shall
               receive all net proceeds from of the proposed sale (and/or accounts receivables and
               bank accounts to the extent they are available), up to the point of the satisfaction of
               its claim within 30 days of the consummation of the Sale, and approval of the Sale
               by the Bankruptcy Court. Until paid, or the entry of an Order Approving Sale Free
               and Clear of Liens, Liens Transferring to Proceeds, this creditor shall retain its lien
               to the same validity, extent and priority that it enjoyed pre-petition.

Class IV:      (Impaired) Proven and allowed claim of the Mercedes-Benz Financial Services in
               the approximate amount of $46,989.90 secured by a 1st Lien on the Debtor’s
               Limousine Bus. It is anticipated that this indebtedness will be assumed by the buyer
               as part of the liquidation sale, and that the buyer will make the remaining payments
               on this vehicle, and to indemnify the Debtor, and the personal guarantors of this debt
               in the event of a post-sale default. In the event that the buyer does not want to
               purchase the limousine bus as part of the liquidation sale, the collateral will be
               returned to this creditor in full satisfaction of the indebtedness. Until paid, or the
               entry of an Order Approving Sale Free and Clear of Liens, Liens Transferring to
               Proceeds, this creditor shall retain its lien to the same validity, extent and priority that
               it enjoyed pre-petition.

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       For the purposes of this Plan of Liquidation, net sale proceeds is defined as gross sale
proceeds less Bankruptcy Court approved costs of sale and U.S. Trustee Fees for the quarter of the
sale.

                                                                                              Page 2 of 5
             Case 8:17-bk-05123-CPM           Doc 51     Filed 10/24/17       Page 3 of 5



Class V:       (Impaired) Proven and allowed claim of the Ally Bank in the approximate amount
               of $15,966.18 secured by a 1st Lien on the Debtor’s Chrysler 300 with the last six on
               the VIN number being 202880. It is anticipated that this indebtedness will be
               assumed by the buyer as part of the liquidation sale, and that the buyer will make the
               remaining payments on this vehicle, and to indemnify the Debtor, and the personal
               guarantors of this debt in the event of a post-sale default. In the event that the buyer
               does not want to purchase the limousine bus as part of the liquidation sale, the
               collateral will be returned to this creditor in full satisfaction of the indebtedness.
               Until paid, or the entry of an Order Approving Sale Free and Clear of Liens, Liens
               Transferring to Proceeds, this creditor shall retain its lien to the same validity, extent
               and priority that it enjoyed pre-petition.

Class VI:      (Impaired) Proven and allowed claim of the Ally Bank in the approximate amount
               of $15,435.23 secured by a 1st Lien on the Debtor’s Chrysler 300 with the last six on
               the VIN number being 119629. It is anticipated that this indebtedness will be
               assumed by the buyer as part of the liquidation sale, and that the buyer will make the
               remaining payments on this vehicle, and to indemnify the Debtor, and the personal
               guarantors of this debt in the event of a post-sale default. In the event that the buyer
               does not want to purchase the limousine bus as part of the liquidation sale, the
               collateral will be returned to this creditor in full satisfaction of the indebtedness.
               Until paid, or the entry of an Order Approving Sale Free and Clear of Liens, Liens
               Transferring to Proceeds, this creditor shall retain its lien to the same validity, extent
               and priority that it enjoyed pre-petition.

Class VII:     (Impaired) Proven and allowed non-insider general unsecured claims. The Debtor
               estimates that there are approximately $14,763.11 of non-insider unsecured claims.
               In the event that there are Sale proceeds remaining after the satisfaction of the Class
               I priority claim, these creditors shall receive all net proceeds from of the proposed
               sale (and/or accounts receivables and bank accounts to the extent they are available)
               on a pro-rata basis, up to the point of the satisfaction of its claim within 30 days of
               the consummation of the Sale, and approval of the Sale by the Bankruptcy Court.

Class VIII:    (Impaired) Proven and allowed insider general unsecured claims. The Debtor
               estimates that there are approximately $159,549.41 of insider unsecured claims. In
               the event that there are Sale proceeds remaining after the satisfaction of the Class VII
               unsecured claims, these creditors shall receive all net proceeds from of the proposed
               sale (and/or accounts receivables and bank accounts to the extent they are available)
               on a pro-rata basis, up to the point of the satisfaction of its claim within 30 days of
               the consummation of the Sale, and approval of the Sale by the Bankruptcy Court.

Class IX:      (Unimpaired) Interests of Equity Security Holders. Equity Security Holders currently
               consist of Mr. & Mrs. Anthony Marchetti. In the event that there are Sale proceeds
               remaining after the satisfaction of the Class VIII unsecured claims, the equity security


                                                                                            Page 3 of 5
             Case 8:17-bk-05123-CPM           Doc 51      Filed 10/24/17      Page 4 of 5



                 holders shall receive all net proceeds from of the proposed sale (and/or accounts
                 receivables and bank accounts to the extent they are available) on a pro-rata basis
                 within 30 days of the consummation of the Sale, and approval of the Sale by the
                 Bankruptcy Court.

STATEMENT REGARDING EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                 The Debtor hereby rejects any executory contract or unexpired lease not specifically

assumed during these proceedings or herein. This includes the month to month lease with Marina

Holdings. Inc.

        C.       ALTERNATIVES TO BANKRUPTCY

        The Debtor proposes to fund its Plan of Liquidation from the continued operation of its

business until such time as the Liquidation Sale is conducted, anticipated to be within 30 days of the

Confirmation of the Debtors’ proposed Plan of Liquidation. In the event that this case were to be

converted to a Chapter 7 case, it is likely creditors would receive significantly less that they would

under the Debtors’ proposed Plan of Liquidation. The Debtors are selling the business as an ongoing

concern so as to maximize value for the Bankruptcy Estate. In a Chapter 7 liquidation, the Debtor

would be forced to cease operations, and it is unlikely that the holders of the Debtor’s

receivableswould be as likely to remit payment to a chapter 7 Trustee, nor is it as likely that a

Chapter 7 Trustee would receive a greater sales price as the Debtor currently enjoys.

XIII. CONCLUSION

        The Plan of Liquidation proposed by the Debtor provides the best means by which most

Creditors get paid at least some distribution on their allowed claims in a reasonable period of time.

Therefore, it appears to be in the best interests of all Creditors, the Debtor, and the bankruptcy estate

to confirm the Debtor’s proposed Plan of Liquidation.



                                                                                            Page 4 of 5
                      Case 8:17-bk-05123-CPM                                     Doc 51              Filed 10/24/17                     Page 5 of 5



                                                            CERTIFICATE OF SERVICE

              I hereby certify that a true copy of the foregoing Disclosure Statement has been sent this

October 24, 2017, to all parties participating in CM/ECF Electronic Noticing and the Office of

United States Trustee, Timberlake Annex, 501 East Polk Street, Suite 1200, Tampa, FL 33602.



                                                                                                  /s/ Joel S. Treuhaft
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